                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


 UNITED STATES OF AMERICA,                                )
                                                          )
 v.                                                       )      No. 3:05-CR-32
                                                          )      (Phillips)
 ANDREW SEATON                                            )


                                           ORDER

               Defendant has moved the court for an order extending his report date to the

 Bureau of Prisons [Doc. 371]. Defendant was sentenced to a term of imprisonment on

 November 4, 2006, and was allowed to remain on bond and self-surrender. Defendant has

 received a report date to the Bureau of Prisons of November 30, 2006. Defendant requests

 a two-week extension of his report date in order that he may conclude some business and

 personal affairs before reporting to the designated facility.

               The court has been informed that the government has no objection to the

 requested extension of defendant’s report date.        Accordingly, defendant’s motion is

 GRANTED. Defendant is granted an extension of time to report to the Bureau of Prisons’

 designated facility until December 15, 2006.

               The clerk is DIRECTED to provide a copy of this order to the United States

 Marshal.

                                            ENTER:


                                                  s/ Thomas W. Phillips
                                                United States District Judge




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